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                        IN THE UNITED STATES DISTRICT COURT                                 NOV    2 7 2024
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION                               CLERK, u.s. District COURT
                                                                                              NORFOLK. VA



UNITED STA' ES OF AMERICA                           )
                                                    )
                   V.                               ) DOCKET NO. 4:24-MN1£L
                                                    )     (Misdemeanor)
  ZAKIYGAN D. HARRISON                              )     VA19
                                                    )
                                                    )     Court Date: December 9, 2024
                                                    )     Time: 8:30 a.m.

                                    CRIMINAL INFORMATION

                                            COUNT ONE

                                (Misdemeanor) Ticket No.E1248564


 THE UNITED STATES ATTORNEY CHARGES:


          That on or about October 10, 2024 at Fort Eustis, Virginia, on lands acquired for the

 use   of the United States, within the special maritime and territorial jurisdiction of this court,

 in tlie Eastern Djistrict of Virginia, ZAKIYGAN D. HARRISON did unlawfully assault
 Rodney Harrison by kicking the said Rodney Harrison about the body with her feet and

 throwing hot coffee on him. (In violation of Title 18 United States Code, Section 113(a)(5).
                                                    JESSICA D. ABER
                                                    UNITED STATES ATTORNEY

                                            By:
                                                    GREGORY M.            UJON
                                                    Attorney for the Government
                                                    United States Attorney’s Office
                                                        2115 Madison Avenue
                                                        Fort Eustis, Virginia 23604
                                                        Phone: (757) 878-9115
                                                        Gregoiy. m.j ouj on.mil@army .ml
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                        CERTIFICATE OF SERVICE


   I certify thdt on      , 2024,1 served a true copy of the foregoing CRIMINAL
INFORMATION on the defendant Zakiygan D. Harrison.




                                        g:      RY M. GOUJON
                                         Attorney for the Government
                                         United States Attorney’s Office
                                         2115 Pershing Avenue
                                         Fort Eustis, Virginia 23604
                                         Phone: (757) 878-9115
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